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,-.z ‘,_/l.… .. ._..,, ._ _Ji'J.
001-029-00
lN THE UNITED STATES DISTRICT COURT {`-" ‘ § ij f-'*j--§ 33 35
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION
TAWANNA CURRIE )
)
Plaintiff, )
)
v. ) CASE NO. 1-03-1052 T-An
)
HAYWOOD COUNTY, TENNESSEE; )
and TIMOTHY LEON ROGERS, )
individually and as an employee, )
officer and agent of Haywood County, )
Tennessee )
)
Defendants. )

 

JOINT PRE-TRlAL ORDER
OF DEFENDANT HAYWOOD COUNTY, TENNESSEE
AND PLAINTIFF TAWANNA CURRIE

 

Defendant Haywood County, Tennessee and Plaintiff Tawanna Currie submit the
following as their Proposed Pre-Trial Order in this cause and submits to this Honorable Court
that they have not received comments or contentions from defendant Rogers. Therefore, it has
become necessary for Defendant Haywood County, Tennessee and Plaintiff Tawanna Currie to

submit the following proposed pre-trial order.
I. JURISDICTIONAL OUESTIONS
There are no jurisdictional questions or issues that are pending at this time.

II. PENDING MOTIONS

There are currently no pending motions However, Defendant Haywood County,

Tennessee would also show this Court that Defendant Tirnothy Rogers, proceeding in this matter

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pro se, has failed to submit Rule 26(a)(3) Disclosures, which pursuant to the Rule l6(b)
Scheduling Order entered in this matter, were due on February 22, 2005. Defendant Haywood
County, Tennessee hereby reiterates that it intends to object to the introduction of any witness
and/or exhibit introduced by Defendant Timothy Rogers.
III. PROCEDURAL BACKGROUND

On February 26, 2003, Plaintiff filed this action under 42 USC § 1983 in the United
States District Court for the Westem District of Tennessee, Eastern Division, against Haywood
County, Tennessee, an entity known as the Haywood County SheriffJ s Department, and Tirnothy
Rogers, in his individual capacity and as an employee, officer and agent of Haywood County,
Tennessee. On September 2, 2003, an Order was entered granting Defendant’s Motion to
Dismiss Certain Defendants and Certain Claims. At that time, this Honorable Court dismissed
an entity known as Haywood County Sheriff’s Department; dismissed Plaintiff's punitive
damages claim against Haywood County, Tennessee', and, declined to exercise supplemental
jurisdiction over Plaintift`s state law claims On l\/larch 10, 2005, this Honorable Court entered
an Order Partially Granting and Partially Denying Defendant Haywood County, Tennessee’s
Motion for Summary Judgment. This Honorable Court held that the Defendant was not
deliberately indifferent in retaining Timothy Rogers as an employee and that Defendant was not
liable to plaintiff for defendant’s actions under respondeat superior. Defendant Haywood
County, Tennessee denies that it has violated any constitutional or any other legal rights of the
Plaintiff.

IV. CONTENTIONS OF THE PARTIES

The contentions included below are simply the contentions and/or positions of the respective
parties only. By executing this document, neither party is stipulating to the contentions made

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herein by the opposing party and would state that any positions or contentions contained therein
are not evidence

A. CONTENTIONS OF THE PLAINTIFF TAWANNA CURRIE

It is the contention of the plaintiff that the proof will show in February, 2002, Tawanna
Currie was a resident of 109 Summit Lane, Stanton, Tennessee. Ms. Currie’s mom came in and
asked her to call 911 on her cell phone because her brother had taken pills and wanted to die. Ms.
Currie called 911. Deputy Tim Rogers was the first person to show at the scene. The ambulance
arrived and stabilized her brother. They loaded him up and headed out the door with her brother.
Deputy Rogers turned around and asked Ms. Currie if she wanted him to come back and let her
know what was going on and where her brother was going to be, she told him yes. At all times,
Deputy Rogers was acting in the course and scope of his employment as a deputy sheriff for
Haywood County.

Deputy Rogers returned to her house after a period of time. She allowed Deputy Rogers
to come in after hearing his knock. Deputy Rogers came in and told her that her brother was
going to the hospital in Brownsville. At that time, Deputy Rogers came over to where she was
and tried to kiss her. He began rubbing on her legs and on her butt. Also, he rubbed her breast
and continued to try and kiss her and had her pinned between him and the washer. She requested
that he stop and leave. Deputy Rogers told her that he would not leave unless she kissed him.

She again told him no and Deputy Rogers continued assaulting her. He was rubbing her
shoulders, rubbing his privates on the back of her butt, and asking her if it felt good. Finally,
Deputy Rogers told her that he would take a hug instead of a kiss and leave. Ms. Currie went to

hug him and he grabbed her and pulled her off her feet up against him. He had her butt cupped

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up to him, and l\/ls. Currie began to cry, realizing that she was powerless to the strength of
Deputy Rogers.

ln fact Ms. Currie testified “I was scared. He had a gun on his hip. l was terrified. l did
everything I could to even-- l asked him where he was from, because everywhere l move he was
right there. l couldn’t -- l couldn’t get away. So l asked him where he was from trying to throw
him off.” After Deputy Rogers left, Ms. Currie locked her door and went into her bedroom and
locked the door and cried. Ms. Currie testified that she did not call the police because she did
not know whether Deputy Rogers would be dispatched again and come back to her house.

Plaintiff contends that defendant, Haywood County, is liable for inadequate training and
insufficient policies and procedures, in violation of Section 1983. Additionally, the lack of
sufficient training and adequate policies and procedures represent deliberate indifference to the
rights of l\/Is. Currie. Sheriff Raymond Russell was the sheriff at the time of the incident that
gave rise to this lawsuit Sheriff Russell was the sheriff of Haywood County from 1986 until
2002. Sheriff Russell admits that he was responsible to insure that his deputies received proper
training Sheriff Russell indicated that his deputies were supposed to do 40 hours of in service
training however, he was unsure of what they would go over at the training In 2002 before he
left as sheriff, Sheriff Russell admits that they did not have any in house seminars. Sheriff
Russell does not remember what was covered in the in house seminars that were performed
Sheriff Russell states that policies and procedures were implemented and adopted when he
became sheriff Prior to that time, there were no policies and regulations governing Haywood
County Sherist Department. Sheriff Russell admitted after having an opportunity to look at the
policies and regulations of Haywood County Sheriff’s Department that there was no policy

regarding the response to emergency calls. Sheriff Russell admits that when the officer went to

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in service training, that they would not go over Haywood County’s policies and procedures
Again, Sheriff Russell admitted in his deposition that he would not attend nor was he aware of
what would be covered in Haywood County’s in house training sessions Sheriff Russell
admitted that he did not recall whether or not Deputy Rogers had been given a copy of the
policies and regulations of the Haywood County Sheriff Department. Sheriff Russell admitted in
his deposition that he doesn’t know whether or not if his deputies were ever trained regarding
sexual harassment Finally, Sheriff Russell admitted that it was not in their training as to how
officers should perform when responding to calls dealing with members of the opposite sex.

Melvin Bond’s current position is Sheriff of Haywood County. He has served in that
position since September 2002. Sheriff Bond was a Deputy Sheriff prior to that time. Sheriff
Bond is familiar with the policies and procedures of the Haywood County Sheriff` s Department.
Sheriff Bond has changed one policy and procedure since he has been in the office, and that’s
basically to secure the facility of the incarceration, meaning the jail facility. Sheriff Bond
testified that he reviews these policies as different situations arise. When asked specifically if
Haywood County had a policy that dealt with Emergency Ca]ls, Sheriff Bond stated “No, there’s
not a policy in here.” When questioned about the training that he received to handle emergency
call for the Haywood County Sheriff’s Department, Sheriff Bond stated that “he received
training at the academy when he began his duties as deputy.” Since that time, each year he
performs a 40 hour in-service training. ln the 40 hour in-service training, there is only one
standard class and that is child sex abuse. Outside of that, the subjects vary as to what the
training involves

Prior to Sheriff Bond becoming the sheriff, Sheriff Russell periodically gave sessions

where they went over policies and procedures of Haywood County. Sheriff Bond says that there

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was never any documentation of any Haywood County training dealing with policies and
procedures The practice of Haywood County was simply to give the policy and procedures to
hired personnel and ask if they reviewed it.

Sheriff Bond admits that the policies and procedures manual did not have a specific
policy in regards to sexual harassment Prior to Sheriff Bond becoming the sheriff he had not
received any training as it relates to sexual harassment by Haywood County. Prior to the
incident involved in this case, Sheriff Bond cannot remember any training he has received
focusing on sexual harassment from Haywood County. Prior to this case, the Haywood County
Sheriff" s Department did not perform any training within the department on how personnel was
to deal with females or persons of the opposite sex when responding to emergency calls Sheriff
Bond admits that Timothy Rogers was a Stanton deputy at the time the incident involved in this
case. Any emergency calls that would have taken place in that area Deputy Rogers would have
responded to.

Kim Williams, a former deputy of Haywood County, admitted that she received training
while at the Donelson Academy, but they did not go over Haywood County’s policies and
procedures Ms. Williams stated that policies and procedures would not be something that they
went over every year as part of the in-service training. When asked specifically what policies
and procedures they would go over, she stated that they would go over “pursuit policies, and we
would go over domestic violence, and probably at that time it would just depend what we felt
like was needed.” Deputy Williams admitted that as part of the in-service training they did not

receive training on how to deal with the opposite sex when responding to calls

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Sheriff Deputy Rogers worked for the Haywood County Sheriff"s Department from
September, 2000 until March_, 2002. As Deputy Sheriff of Haywood County, Deputy Rogers
was responsible for the Stanton, Tennessee area. Besides his 8-week training at the Donelson
Academy, Deputy Rogers did not undergo any other training at Haywood County. Deputy
Rogers testified that the time he was hired in Haywood County he was not given any materials to
read concerning responding to emergency calls and the constitutional rights of citizens Further,
Deputy Rogers testified that he did not receive any training in sexual harassment from Haywood
County Sheriff"s Department. Deputy Rogers admitted that Haywood County officials did not
offer him any training on the departmental policies and procedures In fact, Deputy Rogers
testified that he was never given Haywood County’s policies and procedures Deputy Rogers
Stated that no one ever discussed the policies and procedures of Haywood County Sherif`f"s
Department with him. Deputy Rogers stated that his schedule in Stanton was always 6:00 p.m to
2230 a.m. Deputy Rogers went to the house responding to an emergency call that he had
received over his radio from dispatch. The only reason he went to the house was to respond to
an emergency call. After responding to the call, Deputy Rogers called an ambulance and once
the ambulance got there and stabilized the patient, Deputy Rogers led them back out. Deputy
Rogers escorted the ambulance to the interstate and then turned back around. When Deputy
Rogers returned to the house, he knocked on the door, he left his car running parked in the drive
way with his lights on.

William Biackwell is a training officer and has been a training officer with Haywood
County Sheriff"s Department since 2002. Offlcer Blackwell admitted that they had no courses
on sexual harassment in the in-service training with Haywood County. As part of the in-service
that Haywood County has been offering there’s been no focal point training on how officers

should deal with the opposite sex when answering calls No sexual harassment courses were the

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focal point of any training’s that Officer Blackwell had received prior to the incident in this case.
Officer Blackwell states that he recalls receiving a manual when he was hired and given a copy
of the policies and procedures however they did not actually sit down and go over the policies
and procedures with him to make sure he understood them. lnstead, he remembers getting a
copy of it and they said that this was the policies and procedures for him to take it and read it and
if he had any questions to come back and ask them about it_
B. CONTENTIONS OF THE DEFENDANT HAYWOOD COUNTY, TENNESSEE

lt is the contention of Defendant Haywood County that the proof will show that it was not
deliberately indifferent to any rights of the Plaintiff. The evidence will undoubtedly show that
Haywood County, Tennessee had enacted and continuously implemented policies and
procedures forbidding the conduct which Defendant Rogers engaged in with the Plaintiff. The
policies and procedures of Haywood County, Tennessee further addressed the proper behavior of
an officer and what was expected by the county of each of its officers and certainly forbids the
action of any officer that is criminal in nature The evidence will further show that Haywood
County, Tennessee complied with all training requirements under state law and ensured that its
deputies, including Defendant Rogers, complied with these training requirements Further, as is
required under established case law, there must be a policy or procedure enacted causing a
constitutional tort in order for Defendant to be held liable to Plaintiff. Defendant contends that
there is no policy or procedure causing a constitutional tort, but to the contrary, the evidence will
show that there are numerous policies and procedures enacted to prevent a constitutional tort to
the Plaintiff.

MMTI_ONS
1. Defendant Timothy Leon Rogers was hired as a Haywood County Sheriff s

Deputy in September, 2000.

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2. Before being hired as a deputy, Defendant Rogers filled out an application for the
job and underwent all specific civil service testing as required and administered
by the Haywood County Civil Service board.

3. Defendant Rogers, like all deputies employed by the Haywood County Sheriff,
was required to attend, and did complete, the mandatory eight weeks of training at
Donelson Academy to become certified as a deputy pursuant to statute and the
post commission requirements for deputies

4. All employees of the Haywood County Sheriff`s Department are required to
participate in forty (40) hours of annual in-service training, during which certain

policies and procedures of Haywood County are reviewed

5. Defendant Rogers completed eight (8) weeks of` training at Donelson Academy.
6. Deputies are trained at Donelson Academy and during in-service training to act
professionally

7. On February 28, 2002, Defendant Rogers responded to an emergency ca11 at 109
Summit Lane in Stanton, Haywood County, Tennessee.

8. Defendant Rogers pled guilty to criminal charges of official misconduct,
concerning this incident with Plaintiff.

9. Defendant Rogers sexually assaulted Ms. Currie. Defendant Rogers was wearing
his badge and gun at the time that the sexual assault took place.

VI. CONTESTED ISSUES OF FACT

 

The contested issues included below are the issues which each respective parties believes
are contested in this matter. By executing this document, neither party is stipulating or agreeing
that the issues presented in this section by the opposing party are the issues which they believe
are in fact present before this Honorable Court.

A. Plaintiff submits that the following factual issues must be resolved in this case;

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1. Whether Haywood County is liable for violations of l\/ls. Currie’s
constitutional rights when one of its deputies acting in the course and
scope of his training sexually assaulted l\/ls. Currie.

2_ Whether Haywood County is liable for the actions of one of its deputies
when the deputy was deliberately indifferent to the rights of Ms. Currie
when he sexually assaulted Ms. Currie in the course and scope of his
employment with Haywood County.

3. Whether Haywood County is liable when it had inadequate policies and
procedures to the prevent the sexual assault by one of its officers to occur
proximately causing the sexual assault that Ms. Currie suffered

4. Whether Haywood County is liable when it had inadequate policies and
procedures to the prevent the sexual assault by one of its officers to occur
proximately causing the sexual assault that Ms. Currie suffered

5. Whether Haywood County is liable when it showed deliberate indifference
to the rights of Ms. Currie by failing to have sufficient policies and
procedures in place preventing her from being sexually assaulted by a
deputy acting in the course and scope of his employment

6. Whether Haywood County is liable for failure to train a deputy when it
offered no training to its officers dealing with the treatment of members of
the opposite sex.

B. Defendant submits that the following factual issues must be resolved in this case:

l. Whether Defendant was deliberately indifferent to the Plaintiffs rights by
failing to properly train its officers

2. Whether Haywood County has enacted any policy or procedure which
caused a constitutional tort to Plaintiff.

3_ lf Defendant is found to have been deliberately indifferent, whether this
deliberate indifference is the proximate cause of Plaintiff" s injuries

4. Whether Plaintiff is entitled to any damages, including but not limited to
compensatory for pain and suffering, loss of pleasures and enjoyments of
life and the costs of this matter.

VII. CONTESTE]) ISSUES OF LAW

The Contested issues included below are the issues which each respective parties believes
are contested in this matter. By executing this document, neither party is stipulating or agreeing
that the issues presented in this section by the opposing party are the issues which they believe
are in fact present before this Honorable Court.

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A. Contested issues of law submitted by the Plaintiff.

1. Whether Haywood County violated the constitutional rights of Ms. Currie
when a deputy acting in the course and scope of his employment as a
deputy sexually assaulted Ms. Currie, when it failed to properly train and
supervise the deputy.

2. Whether Haywood County violated the constitutional rights of l\/ls. Currie
when a deputy acting in the course and scope of his employment as a
deputy sexually assaulted Ms. Currie when it failed to have adequate
policies and procedures that would have prevented the assault.

3. Whether the failure of Haywood County to have adequate policies and
procedures that would have prevented the sexual assault of Ms. Currie
constitutes deliberate indifference to the rights of l\/ls. Currie.

4. Whether the failure of Haywood County to properly train Deputy Rogers
to refrain from sexually assaulting Ms. Currie constitutes deliberate
indifference to the rights of l\/is. Currie.

3. Whether l\/is Currie suffered a constitutional tort when she was sexually
assaulted by Deputy Rogers who was acting in the course and scope of his
employment for Haywood County.

B. Contested issues of law submitted by the Defendant.
l. Whether or not a policy or procedure existed that caused a Constitutional
injury to Plaintiff.
2. Whether Defendant Haywood County, Tennessee was deliberately

indifferent to any right of the Plaintiff and whether or not any deliberate
indifference, if existent, of the Defendant was the proximate cause of
Plaintiff’ s injuries

VIII. LEGAL CONTENTIONS OF THE PARTIES
The contentions included below are simply the contentions andfor positions of the respective
parties only. By executing this document, neither party is stipulating to the contentions made
herein by the opposing party and would state that any positions or contentions contained therein

are not evidence

§ anl contentions submitted by the Plaintiff.

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Whether defendant, Haywood County, is liable for violating the constitutional
rights of l\/ls. Currie when it failed to properly train Deputy Rogers, who sexually assaulted l\/ls.
Currie in the course and scope of his employment with Haywood County?

Whether defendant Haywood County, is liable for violating the constitutional rights of
l\/ls. Currie when it failed to have adequate policies and procedures to prevent i\/ls. Currie from
being sexually assaulted by Deputy Rogers in the course and scope of his employment
withHaywood County?

Whether the lack of training and the inadequate policies and procedures amounted to
deliberate indifference to the rights of l\/Is. Currie to be free of sexual assault?

Title 42 USC section 1983 provides, irrelevant part, that:

Every person who, under color of any statute, ordinance,

regulation, custom, or usage . . . subjects, or causes to be subjected7

any citizen of the United States or other person within the

jurisdiction thereof to the deprivation of any rights, privileges, or

immunities secured by the Constitution and laws, shall be liable to

the party injured in an action at law, suit in equity, or other proper

proceeding for redress . . .

The inadequacies of police training may serve as the basis for section 1983 liability only
where the failure to train amounts to deliberate indifference to the rights of persons with whom

the police come in contact Canton v. Harris, 489 U.S. 378 (1988), citing Monell v. New York

City Department of Social Services 436 U.S. 658 (1978). When a municipality’s failure to

 

train its employees in a relevant respect evidences a deliberate indifference to the rights of its
inhabitants can such a shortcoming be properly thought of as a city policy or custom that is
actionable under section 1983. M, at 388. l\/Iunicipal liability under section 1983 attaches
where - - and only where - - a deliberate choice to follow a course of action made from a known

various alternatives by city policymakers Canton at 388. Only where a failure to train reflects

 

a deliberate and conscious choice by municipality - - a policy as defined by a prior cases - - can a

city be liable for such a failure under section 1983. E. The deliberate indifference standard that

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the court has adopted for section 1983'5 "‘failure to train"’ claims does not turn upon the degree
of fault that a plaintiff must show to make out an underlying claim of a constitutional violation.
OLttL at 389. lt may happen that in light of the duties assigned to specific officers or
employees the need for more or different training is so obvious, and the inadequacies so likely to
result in the violation of constitutional rights, that the policymakers of the city can reasonably be
said to have been deliberately indifferent to the need. M, at 390. In that event, the failure to
provide improper training may fairly be said to represent a policy for which the city is
responsible and for which the city may be held liable if it actually causes injuries M, at
390.

Whether l\/ls. Currie has suffered a constitutional tort when she was sexually assaulted by
Deputy Rogers, who was acting in the course and scope of his employment with Haywood
County‘?A plaintiff can bring a claim under section 1983 when she is deprived “of any rights,
privileges or immunities secured by the Constitution and laws,” as a result “of any statute,
ordinance, regulation, custom, or usages, of any state.” Doe v. Claibome County Tennessee 103
Fd. 3d 495 (6th Cir. 1996). A municipal liability claim against the county must be examined by
applying a two prong inquiry: 1) whether the plaintiff has asserted the deprivation of a
constitutional right at all', and 2) whether the county is responsible for that violation m, at
505. The right to personal security and to bodily integrity bears an impressive constitutional
pedigree. “No right is held more sacred or is more carefully guarded . . . than the right of every
individual to the possession and control of his own person, free from all restraint or interference
of others, unless by clear and unquestionable authority of law.” L, at 506, citing Union Pac.
Ry. Co. v. Botsford, 141 U.S. 250 (1891). The court has subsequently recognized the
constitutional of standing of such a right in a variety of contexts In lngraham v. Wright 430

U.S. 651, 673, 51 L.Ed. 2d 711, 97 S.Ct. l401 (1977), the court declared that among the historic

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liberties protected by the Due Process Clause is the right against “unjustified intrusions on
personal security” at the hands of the state. See also Youngberg v. Romeo, 457 US 307, 73
L.Ed. 2d 28, 102 S.Ct. 2452 (1982). ln Albright v. Oliver, 510 US 266, 127 L.Ed. 2d 114, 114
S.Ct.807, 812 (1994), the courts stated that “the protection of substantive due process have for
the most part been accorded to matters relating to marriage, family, procreation and the right to
bodily integrity”. M, at 506. “The magnitude of the liberty deprivation that sexual abuse
inflicts upon the victim is an abuse of governmental power of the most fundamental sort; it an
unjustified intrusion that strips the very essence of personhood. lf the right to bodily integrity
means anything, it certainly encompasses the right not to be sexually assaulted under color of
law.” L)p§, at 506, 507. This conduct is so contrary to fundamental notions of liberty and so
lacking of any redeeming social value, that no rational individual could believe that sexual abuse
by a state acted is constitutionally permissible under the Due Process Clause. ln QL, the Sixth
Circuit held that Doe had a clearly established right under the substantive component of the Due
Process Clause to personal security and to bodily integrity, that such right is fundamental, and
that the defendant’s sexual abuse of Doe violated that right” M, at 507.

A sexual assault can be a constitutional violation under section 1983. Haberthur v. City
of Raymore l\/lissouri, l 19 Fd. 3d 720 (8th Cir. 1997). This type of constitutional injury has been
described as a violation of the substantive due process right to bodily integrity or privacy, and
the courts of appeal have recognized that the right may be violated by sexual fondling and
touching or other egregious sexual contact Haberthur at 723, citing Lillard v. Shelbv County
Board of Education ,76 Fd. 3d 716, 726 (6th Cir. 1996). An officials’ conduct is taken under
color of state law, if a real nexus exists between the activity out of which the violation occurs
and the officials’ duties and obligations as a state actor. Wilson v. Webb , 2000 U.S. App. Lexis

23585 (6th Cir. 2000), citing Doe v. Tavlor Indep. Sch. Dist., 15 Fd. 3d 443, 452 (5th Cir. 2000).

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A claim may be maintained based on a single violation of federal rights when the violations is
accompanied by certain inactions on the part of a municipality Weaver v. Tipton Co.
Tennessee, 41 Fd. Supp.2d 779, W.D. Tenn. (1999), citing Board of County. Comm’r v. Brown,
520 U.S. 397 ( “ the possibility that evidence ofa single violation of federal rights, accompanied
by a showing that a municipality has failed to train its employees to handle recurrenting

situations presenting an obvious potential for such a violation, could trigger municipal liability.”

 

ln Weaver, the Sixth Circuit Court of Appeals stated that “the Supreme Court left open the
possibility that a plaintiff might succeed in carrying a failure to train claim without showing a
pattern of constitutional violations...[because] in a narrow range of circumstances a violation of
federal rights may be a highly predictable consequence of a failure to equip law enforcement
officers with specific tools to handling recurring situations Weaver at 790. In continuing to cite
Brown, the Sixth Circuit stated:

The likelihood that the situation will recur and the predictability

that an officer lacking specific tools to handle that situation will

violate citizens’ rights could justify a finding that policymakers’

decision not to train the officer reflected “deliberate indifference”

to the obvious consequence of the polic makers’ choice--namely, a

violation of a specific constitutional or statutorily right The high

degree of predictability may also support an inference of

causation--that the municipalities indifference led directly to the

very consequence that was so predictable l_d;

§ _I£gal contentions submitted by the DefeLmint.

1. Whether or not a policy or procedure existed which caused a Constitutional
injury to Plaintiff.

In order to hold governmental entity liable under § 1983, the entity must engage some
official policy or custom that causes a Constitutional tort Monell' v. Dept. ofSocl'al Services of
City ofN. Y., 436 U.S. 658, 98 S. Ct. 2018 (1978). See Slemler v. Cin ofF/orence, 126 F.3d 856,
865 (6th Cir. 1997)(“..[1]n order to state a claim against a city or a county under § 1983, a

plaintiff must show that his injury was caused by an unconstitutional ‘policy’ or ‘custom’ of the

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municipality”). Thus, in order to recover from Defendant Haywood County, Tennessee, Plaintiff
must allege that her injuries were caused directly by the execution of official policy or custom as
required by Monell:

We conclude, therefore, that a local government may not be sued

under §1983 for an injury inflicted solely by its employees or agents

lnstead, it is when execution of a government’s policy or custom,

whether made by its lawmakers or by those whose edicts or acts may

fairly be said to represent official policy, inflicts the injury that the

government as an entity is responsible under § 1983.
Monell, at 2037-38. See also, Board of County Commissi'oners v. Brown, 1 17 S.Ct. 1382 (1997).

Defendant Haywood County, Tennessee states that it does not have a policy or procedure
enacted which causes a Constitutional tort, nor specifically has a policy or procedure enacted
which caused any injury to this Plaintiff in particular. To the contrary, it is clear that Haywood
County, Tennessee has numerous policies and procedures enacted to prevent a constitutional tort
to the Plaintiff and to govern and direct the conduct of its officers Plaintiff cannot allege that a
policy or procedure has been enacted which causes a Constitutional tort and therefore cannot
maintain a cause of action against Defendant Haywood County, Tennessee.

Finally, the policies and procedures of Haywood County, Tennessee which are enacted
address the proper behavior of an officer and what is expected by the county of each of its
officers and certainly forbids the action of any officer that is criminal in nature Haywood
County, Tennessee, ay all times, complied with all training requirements under state law and
ensured that its deputies including Defendant Rogers, complied with these training requirements
and that they received the proper and necessary training

IX. EXHIBI'I`S

The following are the Parties’ list of Trial Exhibits.

A. Plaintiff" s Exhibits

1. Policies and procedures of Haywood County Sheriffs Department
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2.

B.

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Employment records of Timothy Leon Rogers
Separation notice for Timothy Leon Rogers

Documents related to testimony of Phillip Davidson

Defendant’s Exhibits

Possible exhibits have already been provided to opposing counsel pursuant to the

Scheduling Order and the Rule 26(a)(3) Disclosures, pursuant to the Federal Rules of Civil

Procedure.

1.

A.

Policies and Procedures of the Sheriff of Haywood County, Tennessee and
Haywood County Tennessee.

Any and all employment records of the Sheriff of Haywood County, Tennessee
for Timothy Leon Rogers This shall include the entire personnel and employment
file of Timothy Leon Rogers, which has previously been provided to the plaintiff
throughout the course of discovery.

Separation l\lotice for Timothy Leon Rogers.
Any and all records regarding the Criminal proceedings as to Timothy Leon Rogers,
including but not limited to the charges against Rogers, and pleas of Rogers and the

judgment entered in his criminal matters

Letter from Pathways Behavioral Health Services in re: Tim Rogers, dated January
14, 2002.

Application for Employment with the Sheriff of Haywood County for Timothy Leon
Rogers

Any and all training, in-service, and/or academy certifications completed or
attended by Timothy Leon Rogers

Any and all documents attached to the Rule 26(a)(2)(B) Expert Disclosure by
Defendant Haywood County, Tennessee as competed by Dennis l\/lays and fully
disclosed to Plaintiff.

X. WITNESSES FOR THE PARTIES

Witnesses for the Plaintiff.

Plaintiff will call:

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l. Tawanna Currie

2. Willie Mae Powell

3. Melvin Bond

4. Raymond Russell

5. Phillip Davidson
Plaintiff may call:

6. Amber Lewis

7. Eric Clark

8. Kim Williams

9. William Blackwell

10. Timothy Rogers

B. Witnesses for the Defendant Haywood County, Tennessee.
Possible witnesses have already been provided to opposing counsel, and filed with this
Honorable Court, pursuant to the Scheduling Order and the Rule 26(a)(3) Disclosures pursuant to

the F ederal Rules of Civil Procedure.

 

Xl. DEPOSITION TESTIMON¥
The parties assert that they will present direct deposition testimony pursuant to the
F ederal Rules of Civil Procedure and Evidence.
XII. ESTIMATED LENGTH OF TRIAL
Defendant Haywood County, Tennessee believes that this matter can be tried in two (2)

to three (3) days

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XIII. DAMAGES
Plaintiff states that she is entitled to compensatory damages commensurate with the proof
of the outrageous and reckless conduct by Deputy Timothy Leon Rogers and Haywood County,

Tennessee Additionally, plaintiff requests attorney’s fees and expenses

Defendant Haywood County, Tennessee contends that Plaintiff is not entitled to any
damages and requests that Defendant be awarded the previous request for attorney’s fees
Defendant Haywood County, Tennessee also asserts that they are entitled to request attorney’s

fees and costs pursuant to 42 U.S.C. §1988.

XIV. ATTORNEYS
Christopher L. Taylor of Hill-Boren in Memphis, Tennessee represents Plaintiff.

lames 1. Pentecost and William B. l\/Iauldin of Pentecost, Glenn & Rudd, PLLC in
Jackson, Tennessee represent Defendant Haywood County, Tennessee

Defendant Timothy Rogers is proceeding pro se in this matter.

XV. PROSPECTS ()F SETTLEMENT
Defendant Haywood County, Tennessee and Plaintiff Tawanna Currie would state for
this Honorable Court that both parties have undertaken attempts to settle this matter but have
been unable to reach a mutually agreeable settlement Defendant Haywood County denies that it
has violated any constitutional or any other legal right of the Plaintiff. Plaintiff believes her
Clairn to be meritorious Accordingly, this matter should proceed to trial.
XVI. SPECIAL EQUIPMENT NEEDED

The parties anticipate needed use of the Easel and Elmo machine during this trial.

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By:

Respectfully submitted,

PENTE s ,GLENN a RUDD, PLLC

b

 

James l_ Pentecost #011640
William B. Mauldin #0229] 2
Attorneys for Defendant

Haywood County_, Tennessee
106 Stonebridge Blvd.
.lackson, TN 383 05
(731) 668-5995

HILL-BOREN, P.C.

 
    

Christoph r L. Tayl r #18246
191 Jefferson Avenue ~
l\/Iemphis, TN 38103

CERTIFICATE OF SERVICE

This is to certify that I have served a copy of this pleading or paper personally or by mail
upon each attomey, firm of attorneys or pro se party appearing of record for each adverse party

on or before the filing date thereof.

fl
This theq?_i€ay of June, 2005.

PENTEC ST, RUDD, PLLC

  

By:

 

rallies 1'. Pentecosi (01 1640)
written B. Mauldin (022912)

D.M
JAMES . TODD

UNIT STATES DISTRICT JUDGE

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DATE U

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UND1TE sTATEs D1STR1CT oURT - WEST"E DISTR1CT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
case l:03-CV-01052 was distributed by fax, mail, or direct printing on
.luly 1, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

